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 1                       UNITED STATES DISTRICT COURT
 2                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 3
                                  )                 Case No. 5:19-CV-01546-JGB(SHK)
 4   FAOUR ABDALLAH               )
 5   FRAIHAT, et al.,             )                 Before The Honorable Jesus G.
                                  )                 Bernal
 6   Plaintiffs,                  )
 7                                )                 ORDER RE: DEFENDANTS’
                      v.          )                 UNOPPOSED APPLICATION
 8
                                  )                 FOR EXPEDITED RULING ON
 9   U.S. IMMIGRATION AND         )                 THEIR UNOPPOSED MOTION
10   CUSTOMS ENFORCEMENT, et al., )                 TO SEEK AN ORDER
                                  )                 ENFORCING THE NINTH
11   Defendants.                  )                 CIRCUIT’S MANDATE
12                                )
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14
           GOOD CAUSE HAVING BEEN SHOWN, Defendants’ Unopposed
15
     Application for Expedited Ruling on Their Motion to Seek an Order Enforcing the
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     Ninth Circuit’s Mandate is HEREBY GRANTED.
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           IT IS HEREBY ORDERED that Defendants’ Unopposed Motion to Seek An
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     Order Enforcing The Ninth Circuit’s Mandate is APPROVED. The preliminary
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     injunction order and the following orders predicated on the preliminary injunction
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     order are hereby VACATED:
21
           1. ECF No. 132, Order on Motion for Preliminary Injunction
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           2. ECF No. 133, Order on Class Certification
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           3. ECF No. 240, Order on Motion to Enforce
24
           4. ECF No. 281, Order on Motion to Appoint Special Master
25
           5. ECF No. 292, Order appointing Judge Walsh as the Special Master
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           6. ECF No. 302, Order Compelling Disclosure of Information Withheld
27
              Pursuant to 8 U.S.C. § 1367
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 1
          7. ECF No. 318, Order accepting Special Master’s First Report and
 2
             Recommendation
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          8. ECF No. 355, Order extending Special Master's appointment for 90 days
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     IT IS SO ORDERED.
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 7   DATED: September 16, 2022.         __________________________________
 8                                      The Honorable Jesus G. Bernal
                                        UNITED STATES DISTRICT JUDGE
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